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AO 9E(Rev PII) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Wester istrict of Texas

United States of America )
v. )
) Case No, 9A:19-MJ-01349
JOSE MIGUEL SANDOVAL-PINEDA
‘AKA: EL PRIMO )
ve vere ence oe OD
Defendant{s}
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of I V/ 07/20 19 inthe county of Bexar — in the
Western District of Texas . the defendant(s) violated:
Code Section Offense Description
18 U.S.C § 922 (0) It shall be unlawful for any person to transfer or possess a machine gun

This criminal complaint is based on these facts:

See Attached Affidavit

Continued on the altached sheet.

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Aric WKS
Compldinant s signature _/

_Eric A. Watkins SA/ATF

Printed name and title

(™) Swom to before me and signed in my presence.
(J Swom to telephonically and signed electronically.

in )
Date: November 8, 2019 | yy S Ce

Judge 's signature C)

City and state) SAN ANTONIO Honorable Elizabeth S. Chestney

Printed name and title
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Eric Watkins, being duly sworn do hereby depose and state:

1.

Your affiant is currently employed as a Special Agent with the Bureau of Alcohol,
Tobacco, Firearms and Explosives and has been so employed since October 2018.
Additionally, between April 2014 and October 2018 your affiant was a sworn ATF
Task Force Officer, and therefore, since April 2014, your affiant has participated in
investigations concerning violations of Titles 18, 2], and 26.

During an ongoing investigation, agents obtained a federal search warrant for an LG
cellular telephone, IMEI# 359584090153081. The search of the phone revealed that on
August 24, 2019, an unlisted contact using phone number 661-779-3600 sent a video
via WhatsApp to the LG cellular telephone. This video depicts a man, identified as Jose
Miguel SANDOVAL-Pineda aka “E! Primo”, sitting in the front right passenger seat
of a vehicle with an OD green Glock firearm, which was loaded with an extended, high-
capacity magazine. While riding on a paved highway, SANDOVAL-Pineda begins to
discharge the firearm out of the open front passenger window. As he discharges the
firearm, numerous shell casings are ejected from the firearm. SANDOVAL-Pineda
discharges the Glock until empty of ammunition, emptying the magazine in about two
seconds or less.

Attached to the Glock’s slide cover plate was a box-type object, which is commonly
referred to as a Glock Switch. SA Watkins knows from his training and experience that
Glock pistols that have been illegally converted into machine guns have a “switch,”
which is generally rectangular in shape, attached to the rear of the firearm’s slide,
replacing the Glock factory slide cover plate. This conversion device effectively
converts the Glock from a semi-automatic pistol to a fully automatic pistol (a machine
gun) by allowing more than one projectile to be discharged, without manual reloading,
by a single function of the trigger. The specific conversion device attached to the rear
of the Glock here had a slide-type switch allowing the firearm to function in both semi-
automatic mode (one shot per function of the trigger) and fully automatic mode (more
than one shot per function of the trigger without manual reloading). In the video,
SANDOVAL-Pineda discharges the firearm with the switch in the machine gun mode,
as demonstrated by the rate of fire, i.e. emptying the Glock magazine (approximately
20-22 shots) in less than two seconds.

Agents determined that SANDOVAL-Pineda had possessed the machine gun near the
12000 block of United States Highway 90 in San Antonio, Texas. Agents have
confirmed that the buildings, landmarks, and road signs at this location match those
observed in the background of the video.
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Agents also obtained a federal historical cell site data search warrant for SANDOVAL-
Pineda’s cell phone, 661-779-3600, which revealed that the cellular phone was
consistently in or around southwest San Antonio, Texas on August 24, 2019.

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6. SA Watkins knows from his training and experience as an ATF agent that “Glock
Switches” are illegal machine guns in their selves without being attached to a firearm

under the definition of a machine gun in 26 U.S.C. § 5845(b).

Based on the above facts, your affiant believes there is probable cause that Jose Miguel
SANDOVAL-Pineda, a.k.a. El Primo, knowingly possessed a machine gun in violation of 18
U.S.C. § 922(0).

ee C Ufstters

Special Agent Eric A. . Watkins
Bureau of Alcohol, Tobacco, Firearms &
Explosives

SUBSCRIBED AND SWORN TO BEFORE ME THIS 8th DAY OF NOVEMBER, 2019.

Cin S$ Oe

HONORABLE ELIZABETH S (CH ESTNEY
UNITED STATES eae Tee JUDGE

